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1                                       UNITED STATES DISTRICT COURT

2                                           DISTRICT OF NEVADA

3                                                    ***

4

5    UNITED STATES OF AMERICA,

6                          Plaintiff,                   2:12-cr-00463-JCM-VCF

7    vs.                                                ORDER

8    DENISE WILLIAMS,

9                          Defendant.

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11           Before the court is United States of America v. Denise Williams, case no. 2:12-cr-00463-JCM-

12   VCF.

13           IT IS HEREBY ORDERED that a status hearing is scheduled for 2:00 p.m., April 24, 2015, in

14   courtroom 3D.

15           DATED this 14th day of April, 2015.

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18                                                            CAM FERENBACH
                                                              UNITED STATES MAGISTRATE JUDGE
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